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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


FRIEDA AARON, et al.                                  :       Case No. 1:17cv846

               Plaintiffs,                            :       Judge Michael R. Barrett

       v.                                             :

CHIEF JUSTICE MAUREEN O’CONNOR, et al. :

               Defendants.                            :

                                                      :
                                    OPINION AND ORDER

       This matter is before the Court on Plaintiffs’ Amended Motion for Temporary

Restraining Order and/or Preliminary Injunction (Doc. 8). Defendant Chief Justice O’Connor

filed a response (Doc. 12) and Plaintiffs filed a reply (Doc. 13).

       Plaintiffs’ bring claims under 42 U.S.C. § 1983 alleging violations of their due process

rights. (Doc. 1, PageID 39 at ¶¶ 121-22). On December 27, 2017, the Court held a telephone

status conference with counsel for the parties. During that conference, the Court explained that it

intended to rule on the issue of abstention before addressing Plaintiffs’ request for injunctive

relief. At Plaintiffs’ request, the Court permitted additional briefing on the issue of abstention.

Plaintiffs filed their brief on January 5, 2018 (Doc. 19). Defendant Chief Justice O’Connor filed

a response to Plaintiffs’ brief on January 12, 2018, and Plaintiffs filed a reply on January 15,

2018 (Docs. 27, 28). Defendant Judge Schweikert addressed the abstention issue in his Motion

to Dismiss Plaintiffs’ Verified Complaint and Memorandum in Opposition to Plaintiffs’

Amended Motion for a Temporary Restraining Order (Doc. 23). The Court held a hearing on the

issue of abstention on January 17, 2018. The matter of abstention is now ripe for disposition.


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    I.       BACKGROUND/FACTS

          The facts in the underlying cases commonly referred to as “the Durrani cases” are not

entirely relevant to the instant matter. Briefly, Plaintiffs’ counsel represents approximately 528

clients in Hamilton County in medical malpractice claims against Dr. Abubakar Atiq Durrani and

various hospitals where he treated his patients. (Doc. 1, PageID 7 at ¶ 29). The first of these

cases was filed nearly five years ago. (Id. at ¶ 1). The Durrani cases have been in multiple

venues—some were originally filed in Butler County, others were removed to federal court. (See

generally Doc. 1). The Durrani cases giving rise to the instant lawsuit are presently being

litigated in Hamilton County. (Id.). The Durrani cases have also been before a number of

judges; at one time or another, they have been consolidated, returned to their originally assigned

judges, and assigned to visiting judges. (Id.). Most recently, Defendant Judge Mark Schweikert

was appointed by Defendant Chief Justice O’Connor to preside over the Durrani cases. (Doc. 1,

PageID 19 at ¶ 55). He remains the current judge assigned to the Durrani cases. (See generally

Doc. 1).

          On December 15, 2017, Plaintiffs’ counsel, Matthew Hammer, filed with the Clerk of the

Supreme Court of Ohio an “Affidavit of Disqualification of Chief Justice Maureen O’Connor

and Judge Mark Schweikert.” (Doc. 1-1). In the Affidavit, Mr. Hammer avers that Chief Justice

O’Connor and Judge Schweikert have “a bias and prejudice against Plaintiffs and their claims.”

(Doc. 1-1, PageID 57).

          On December 18, 2017, Plaintiffs filed the instant lawsuit and their motion for injunctive

relief.    They seek to enjoin Chief Justice O’Connor from ruling on the Affidavit of

Disqualification, and they seek to enjoin Judge Schweikert “from taking any action on their

cases” while their Affidavit of Disqualification is pending. (Doc. 1, PageID 2 at ¶ 2).



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         As explained more fully herein, Ohio Rev. Code § 2701.03 governs the disqualification

of Judge Schweikert.      Ohio Rev. Code § 2701.03(2)(D)(1) provides that, absent limited

circumstances not present herein, if the clerk of the Supreme Court accepts an affidavit of

disqualification, “the affidavit deprives the judge against whom the affidavit was filed of any

authority to preside in the proceeding” until the affidavit is ruled on. As for Chief Justice

O’Connor, although the Durrani cases are not in front of her, Plaintiffs argue she should not be

permitted to decide the issue of disqualification as it pertains to Judge Schweikert. (Doc. 1,

PageID 2). Ohio Supreme Court Practice Rule 4.04 governs the disqualification and recusal

process of state Supreme Court justices. As explained above, the question before the Court is

whether the abstention doctrine bars this Court from deciding Plaintiffs’ claims.

   II.      YOUNGER ABSTENTION

         The Younger abstention doctrine bars a federal court from granting “‘injunctive or

declaratory relief that would interfere with’ state judicial proceedings pending at the time that a

federal complaint is filed.” Shafizadeh v. Bowles, 476 Fed.Appx. 71, 73 (6th Cir. 2012) (internal

citations omitted). As the Supreme Court has explained, Younger v. Harris, 401 U.S. 37, 44, 91

S.Ct. 746, 27 L.Ed.2d 669 (1971) “espouse[s] a strong federal policy against federal-court

interference with pending state judicial proceedings absent extraordinary circumstances.”

Middlesex County Ethics Comm. v. Garden State Bar Assn., 457 U.S. 423, 431, 102 S. Ct. 2515,

73 L.Ed.2d 116 (1982).

         For years, courts applied the following factors set forth in Middlesex to determine

whether the Younger abstention doctrine was applicable: 1) whether the underlying proceedings

constitute an ongoing judicial proceeding; 2) whether the proceedings implicate important state




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interests, and 3) whether there is an adequate opportunity in the state proceedings to raise a

constitutional challenge. Middlesex, 457 U.S. at 432-34, 102 S. Ct. 2515.

       The United States Supreme Court recently revisited the Younger abstention doctrine, and

clarified its ruling in Middlesex. Sprint Communications, Inc. v. Jacobs, 134 S. Ct. 584, 187

L.Ed.2d 505 (2013). The Court explained that while the Younger abstention doctrine can apply

to civil proceedings (in addition to criminal prosecutions), its application to such proceedings

exists only in a few circumstances. Sprint, 134 S Ct. at 591, 187 L.Ed.2d 505. Accordingly, the

Court held that only three types of proceedings warrant abstention: 1) ongoing state criminal

prosecutions; 2) certain civil enforcement proceedings; and 3) pending “civil proceedings

involving certain orders … uniquely in furtherance of the state court’s ability to perform their

judicial functions.” Id. (quoting New Orleans Public Service, Inc. v. Council of City of New

Orleans, 491 U.S. 350, 368, 109 S. Ct. 2506, 105 L.Ed 2d 298 (1989) (“NOPSI”)). Thus, before

application of the Middlesex factors, courts must first determine whether one of the

circumstances outlined in NOPSI exists. The Court begins its analysis here.

       A. NOPSI Analysis

       Both parties agree that the first two NOPSI circumstances do not apply. Accordingly, the

question herein in is whether a pending affidavit of disqualification of a judge is a proceeding

that involves certain orders uniquely in furtherance of the state court’s ability to perform their

judicial functions.

       Defendants argue that disqualification and recusal of judges is, by its very nature, a

judicial process. Indeed, applying the Middlesex factors, federal courts have routinely abstained

from interfering with the recusal process in state courts. See. e.g., Shafizadeh, 476 Fed. Appx. at

*2. However, the parties cite only one instance wherein a court analyzed the issue following



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Sprint, and the Court’s independent research revealed the same. Thomas v. Piccione, No. 13–

425, 2013 WL 5566505 (W.D. Pa. Apr. 24, 2014). On reconsideration, the court in Thomas

acknowledged it was clear error in light of Sprint not to address whether recusal of a judge fell

into one of the three categories delineated in NOPSI. Id. at *3. The court reasoned that by

asking the court to order the recusal of a state court judge, the plaintiff was challenging the state

court’s judicial recusal process. Id. at *5. Accordingly, the court concluded that recusal of state

court judges fell into the third circumstance in NOPSI—that is, pending “civil proceedings

involving certain orders … uniquely in furtherance of the state court’s ability to perform their

judicial functions[,]” and therefore abstained. Id.

            Plaintiffs contend Thomas got it wrong. They argue that in order for abstention to be

appropriate, the civil proceeding must specifically relate to the state court’s ability to enforce its

orders and judgments. (Doc. 28, PageID 1546) (citing Sprint, 134 S. Ct. at 588). Because there

has not yet been a decision on the Affidavit of Disqualification 1, they argue there is no order or

judgment, thereby falling outside the scope of the third category.                                In other words, their

interpretation of the language in NOPSI is that there must be a past order or judgment. (Doc. 28,

Page ID 1545) (“[T]here have been no orders entered in the state court actions for Younger to

attach … The Supreme Court has indicated that an entry of state court orders and judgment

appear to be a prerequisite for an application of Younger.”).

            The Court in Sprint listed (by way of citation) two specific situations in which the third

category would apply – civil contempt orders and requirements for posting bond pending appeal.

Sprint, 134 S. Ct. at 592 (citing Juidice v. Vail, 430 U.S. 327 1977; Pennzoil Co. v. Texaco, Inc.,

481 U.S. 1, 107 S. Ct. 1519, 95 L.Ed.2d 1 (1987)). However, while there was an order in

Juidice, the same cannot necessarily be said for Pennzoil. In Pennzoil there was a verdict, but
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    To date, Plaintiffs’ counsel has filed seven affidavits of disqualification in this matter.

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not yet a judgment at the time the federal case was filed. Pennzoil, 481 U.S. at 4 (“The parties

anticipated that the judgment…would exceed $11 billion.” … “[I]t was clear that the expected

judgment would give Pennzoil significant rights under Texas law.”). 2 Accordingly, Plaintiffs’

narrow interpretation of NOPSI misses the mark.

         Moreover, in the sentence preceding the citations in which Plaintiffs rely, the Court in

Sprint explained that the proceeding at issue therein 3 “did not touch on a state court’s ability to

perform its judicial function.” Sprint, 134 S. Ct. at 592. Thus, the language chosen by the Court

in Sprint did not specifically limit abstention to past orders or judgments. Rather, the Court’s

focus was on the state court’s ability to perform its judicial function. To be sure, this Court

would be hard-pressed to envision a scenario more closely related to the state court’s ability to

perform its judicial function than the recusal and disqualification process of its own judges. See

e.g. Gilbert v. Ferry, 401 F.3d 411, 419 rev’d in part by 413 F.3d 578 (6th Cir. 2005)

(rehearing). Thus, while the Supreme Court cited two examples in which a state court’s ability

to perform its judicial function would be interfered with, the Court is not persuaded that, in doing

so, the Supreme Court intended to create an exhaustive list.

         Finally, the specific language chosen by the Supreme Court in NOPSI is instructive. The

Court did not hold that for “abstention to attach” there must be a previous order issued as

Plaintiffs argue. 4 Rather, the Court limited abstention to proceedings involving certain orders or


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  The Court also noted that federal injunctions in such cases would “challenge the very process by which [state
court] judgments were obtained.” Pennzoil, 481 U.S. at 14, 107 S. Ct. 1519.
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  In Sprint the Supreme Court held that abstention was not appropriate merely because a pending state-court
proceeding involved the same subject matter. Sprint, 134 S. Ct. at 588.

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 The Court sees another potential problem with Plaintiffs’ argument that simply filing suit in federal court before an
order or judgment was issued saves their claims from the Younger abstention doctrine. If the Court were to accept
Plaintiffs’ interpretation of the language in NOPSI, it appears there would be little practical difference between the
Younger abstention doctrine and the Rooker-Feldman doctrine. Executive Arts Studio, Inc. v City of Grand Rapids,
391 F.3d 783, 793 (6th Cir. 2004) (finding the Rooker-Feldman doctrine prohibits federal district courts from

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judgments. Here, the state court proceeding undeniably involves certain orders, past or future,

uniquely in furtherance of the state court’s ability to perform their judicial functions. And any

interference by this Court would undoubtedly affect the state court’s ability to compel

compliance with its future orders regarding the disqualification process.

        Plaintiffs disagree. They argue they are not attacking the state court’s process, but rather

how the process was applied to their case. Nevertheless, a decision regarding the disqualification

or recusal of Chief Justice O’Connor pursuant to Supreme Court Practice Rule 4.04 has not been

made. Thus, any relief the Court grants would be anticipatory. In other words, Plaintiffs assume

Chief Justice O’Connor will not recuse herself or otherwise be disqualified, and they assume she

will deny their Affidavit of Disqualification of Judge Schweikert. Indeed, by granting the relief

Plaintiffs request, this Court would effectively be telling the Supreme Court of Ohio how to

perform its judicial function as it relates to disqualification of state court judges. As the Court

explained in Middlesex, the Younger abstention doctrine prohibits such interference by federal

courts, and Sprint did not change that.

        Considering the foregoing, the Court finds this case falls into one of the three

“exceptional circumstances” identified in NOPSI. Sprint, 134 S. Ct. at 593-94.

        B. Middlesex Factors

        The next step then, is to determine whether the Middlesex factors are satisfied. As

explained above, the Court considers three additional factors when determining whether the

Younger abstention doctrine applies: 1) whether the underlying proceedings constitute an

ongoing judicial proceeding; 2) whether the proceedings implicate important state interests, and


exercising “appellate jurisdiction over the decisions and/or proceedings of state courts, including claims that are
‘inextricably intertwined’ with issues decided in state court proceedings.”). However, this issue was not raised by
the parties.


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3) whether there is an adequate opportunity in the state proceedings to raise a constitutional

challenge. Middlesex, 457 U.S. at 432-34, 102 S. Ct. 2515. If all three factors exist, abstention

is warranted.

       There can be little dispute that the first two Middlsex factors are satisfied. First, Plaintiffs

have initiated, by way of an Affidavit of Disqualification, a state court proceeding. Second, the

Sixth Circuit has held that the recusal of judges is an important state interest. Gilbert, 401 F.3d

at 419. Accordingly, the Court turns its attention to the third factor—whether there is an

adequate opportunity for Plaintiffs to raise a constitutional challenge in the state proceedings.

       By virtue of their filings, Plaintiffs raise two separate issues—the disqualification of

common pleas state court judges and the disqualification of justices of the Supreme Court of

Ohio. The Court addresses each in turn.

       Ohio Revised Code § 2701.03 governs the filing of affidavits of disqualification of judges

of common pleas courts, as well as the process by which affidavits of disqualification are

reviewed and decided. The statute states, in relevant part:

       If a judge of the court of common pleas allegedly is interested in a proceeding
       pending before the court, allegedly is related to or has a bias or prejudice for or
       against a party to a proceeding pending before the court or a party’s counsel, or
       allegedly otherwise is disqualified to preside in a proceeding pending before the
       court, any party to the proceeding or the party’s counsel may file an affidavit of
       disqualification with the clerk of the supreme court in accordance with division
       (B) of this section.

Ohio Rev. Code § 2701.03(A). Upon the filing of a properly filed affidavit, the clerk of the

Supreme Court “shall accept the affidavit for filing and shall forward the affidavit to the chief

justice of the supreme court.” Ohio Rev. Code § 2701.03(C)(1)(a). Upon receipt from the clerk

of the Supreme Court, the chief justice of the Supreme Court or a justice of the Supreme Court

designated by the chief justice decides whether to grant or deny the affidavit. See generally Ohio



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Rev. Code §§ 2701.03(D)(4), (E). Plaintiffs filed an Affidavit of Disqualification (and six

subsequent affidavits).

       In Gilbert, the Sixth Circuit explained in the context of recusal of judges, that plaintiffs

“had an adequate opportunity to raise their constitutional challenge, as evidenced by the fact that

their lengthy brief in support of their motion to recuse contained the same arguments and proofs

as presented in their complaint filed in federal court.” 401 F.3d at 419. Similarly, Plaintiffs have

filed seven Affidavits of Disqualification in the state court proceeding, and those pleadings

present nearly identical arguments presented in their Complaint herein. (Compare Doc. 1 with

Doc. 1-1).    Accordingly, the Court finds Plaintiffs have an adequate opportunity to raise their

constitutional challenge as it relates to the Affidavit of Disqualification of Judge Schweikert.

Ohio law provides a procedure by which Plaintiffs may do so, and Plaintiffs have taken

advantage of that procedure.

       Ohio Revised Code § 2701.03, however, does not govern the disqualification of Ohio

Supreme Court justices. See generally Ohio Rev. Code § 2701.03. Rather, Supreme Court

Practice Rule 4.04 does. See generally S.Ct.Prac.R. 4.04. The Rule permits a party to a case

pending before the Supreme Court of Ohio to “request the recusal of a justice by filing a request

with the Clerk of the Supreme Court.” S.Ct.Prac.R. 4.04(B). The justice named in the request

shall then “submit a written response to the Clerk indicating whether the justice will recuse from

the case.” S.Ct.Prac.R. 4.04(C). While this procedure is similar to the Ohio law governing the

disqualification of Judge Schweikert (and other state court judges), Rule 4.04 provides that the

Supreme Court justice herself determines whether to recuse. See e.g,. Moss, et al. v. Bush, et al.,

105 Ohio St.3d 11, 821 N.E.2d 992 (Ohio 2004). However, in Caperton, the United States

Supreme Court granted a petition for a writ of certiorari to determine whether a state Supreme



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Court justice’s failure to recuse himself violated the Due Process Clause of the Fourteenth

Amendment. Caperton v. A.T. Massey Coal Co., Inc., 556 U.S. 868, 129 S. Ct. 2252, 173

L.Ed.2d 1208 (2009). 5 Therefore, Ohio Supreme Court Practice Rule 4.04 itself provides an

adequate opportunity for a plaintiff to commence a constitutional challenge – by filing a request

for recusal with the clerk of the Supreme Court – thereby satisfying the third Middlesex factor. 6

IV.      CONCLUSION

         Considering the foregoing, the Court finds the Younger abstention doctrine extends to

this case. Accordingly, Plaintiffs’ Motion for a Temporary Restraining Order and/or Preliminary

Injunction (Doc. 8) is DENIED, and Plaintiffs’ claims are DISMISSED WITH PREJUDICE.

         IT IS SO ORDERED.


                                                                  s/Michael R. Barrett
                                                                 ________________________
                                                                 Michael R. Barrett, Judge
                                                                  United States District Court




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  While the parties cite Caperton in support of their arguments (either highlighting similarities or distinguishing the
facts), neither party acknowledges the process by which the parties in Caperton sought review of their constitutional
claims. There, following an adverse ruling on the issue of recusal, the parties filed a petition for a writ of certiorari
in the United States Supreme Court. At no point did the parties in Caperton seek review by a federal district court.
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  From the record before it, the Court is not convinced Plaintiffs have properly sought the recusal of Chief Justice
O’Connor. It appears as though Plaintiffs filed a combined Affidavit of Disqualification, seeking to disqualify
Judge Schweikert and asking a justice other than Chief Justice O’Connor to rule on it. In support, Plaintiffs cite
S.Ct.Prac.R. 14.6. There is, however, no Rule 14.6.

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